Case 2:15-cv-09164-DDP-AGR Document 40 Filed 07/13/16 Page 1 of 7 Page ID #:375



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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11   KARLA GORCHOFF, individually      )   Case No. CV 15-09164 DDP (AGRx)
      and on behalf of all others       )
 12   similarly situated, and           )   ORDER DENYING PLAINTIFFS’ MOTION
      LOUIS GORCHOFF, individually      )   FOR RECONSIDERATION
 13   and on behalf of all others       )
      similarly situated,               )
 14                                     )   [Dkt. 36]
                        Plaintiff,      )
 15                                     )
           v.                           )
 16                                     )
      JEFFERSON CAPITAL SYSTEMS,        )
 17   LLC,                              )
                                        )
 18                     Defendants.     )
                                        )
 19   ___________________________       )
 20
           Presently before the court is Plaintiffs Karla and Louis
 21
      Gorchoff’s (collectively, “Plaintiffs”) Motion for Reconsideration
 22
      of this Court’s Order Granting Defendant Jefferson Capital Systems,
 23
      LCC’s (“Defendant”) Unopposed Motion to Compel Arbitration. (Dkt.
 24
      36.) Having considered the submissions of the parties, the court
 25
      denies the motion and adopts the following Order.
 26
      I.   Background
 27
           The court has set forth the relevant background in a prior
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Case 2:15-cv-09164-DDP-AGR Document 40 Filed 07/13/16 Page 2 of 7 Page ID #:376



  1   order concerning Defendant’s unopposed Motion to Compel
  2   Arbitration. In brief, Plaintiffs brought suit on behalf of
  3   themselves and a purported class alleging that Defendant sent
  4   certain letters in violation of the Fair Debt Collection Practices
  5   Act (“FDCPA”), the Credit Repair Organizations Act (“CROA”), and
  6   the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”). (See
  7   Dkt. 1.) Plaintiffs received these letters in connection with an
  8   alleged debt they owe on their Premier Bankcard Mastercard
  9   Accounts. (Dkt. 1, Exs. A, B.) The letters invite Plaintiffs to
 10   join a program that offers certain debt reduction credits if
 11   Plaintiffs make sufficient qualifying payments. (Id.)
 12        On February 2, 2016, Defendant filed a Motion to Dismiss under
 13   Rule 12(b)(6). (Defendant’s Motion to Dismiss, Dkt. 17.) On March
 14   28, 2016, after the Motion to Dismiss was fully briefed, Defendant
 15   filed a Motion to Compel Arbitration set for hearing on May 9,
 16   2016. (Motion to Compel Arbitration, Dkt. 26.) On April 1, 2016,
 17   the Motion to Dismiss was vacated. (Dkt. 31.) Pursuant to Local
 18   Rule 7-9, Plaintiffs’ opposition to the Motion Compel Arbitration
 19   was due on April 18, 2016 but Plaintiffs did not meet that
 20   deadline. (See Dkt. 32.) The day after the Opposition was due,
 21   Plaintiffs emailed Defendant’s counsel, asking to discuss the
 22   Motion to Compel and the possibility of extending or staying the
 23   briefing schedule pending limited discovery. (Dkt. 33-3, Ex. B.)
 24   Defendant did not agree to such a stipulation, and, on April 22,
 25   2016, Plaintiffs filed an Ex Parte Application before this Court
 26   seeking to continue the hearing date of the Motion to Compel.
 27   (Plaintiffs’ Ex Parte Application, Dkt. 33.)
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Case 2:15-cv-09164-DDP-AGR Document 40 Filed 07/13/16 Page 3 of 7 Page ID #:377



  1         This Court denied Plaintiffs’ Ex Parte Application and granted
  2   Defendant’s Motion to Compel Arbitration. (Dkt. 35.) In particular,
  3   the court noted that Plaintiffs were aware of Defendant’s Motion to
  4   Compel Arbitration since March 8, 2016 and did not ask for any
  5   extensions until after the response to the Motion was due, nearly
  6   six weeks after Defendant’s first email. (Id. at 2.) The court also
  7   noted that the agreement between Plaintiff and their credit card
  8   company’s assignee (Defendant) facially appeared to require this
  9   dispute be arbitrated, including arbitrating potential disputes
 10   over the validity of the arbitration agreement. (Id. at 3-4.)
 11   Finally, the court dismissed the case with prejudice and vacated
 12   all pending motions. (Id. at 4.) Plaintiffs now seek
 13   reconsideration of this Order.
 14   II.   Legal Standard
 15         Amendment or alteration of a judgment is only appropriate
 16   under Rule 59(e) if “(1) the district court is presented with newly
 17   discovered evidence, (2) the district court committed clear error
 18   or made an initial decision that was manifestly unjust, or (3)
 19   there is an intervening change in controlling law.” Zimmerman v.
 20   City of Oakland, 255 F.3d 734, 740 (9th Cir. 2001). The rule
 21   “offers an extraordinary remedy, to be used sparingly in the
 22   interests of finality and conservation of judicial resources.”
 23   Kona Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th
 24   Cir. 2000). “A Rule 59(e) motion may not be used to raise arguments
 25   or present evidence for the first time when they could reasonably
 26   have been raised earlier in the litigation.” Id. See also Exxon
 27   Shipping Co. v. Baker, 554 U.S. 471, 485 n.5 (2008); School Dist.
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Case 2:15-cv-09164-DDP-AGR Document 40 Filed 07/13/16 Page 4 of 7 Page ID #:378



  1   No. 1J, Mulnomah County, Or. v. ACandS, Inc., 5 F.3d 1255, 1263
  2   (9th Cir. 1993).
  3        Alternatively, under Federal Rule of Civil Procedure 60(b), a
  4   party may seek reconsideration of a final judgment or court order
  5   for any reason that justifies relief, including:
  6        (1)   mistake, inadvertence, surprise, or excusable neglect;
  7        (2)   newly discovered evidence that, with reasonable
                 diligence, could not have been discovered in time to
  8              move for a new trial under Rule 59(b);
  9        (3)   fraud (whether previously called intrinsic or
                 extrinsic), misrepresentation, or misconduct by an
 10              opposing party;
 11        (4)   the judgment is void;
 12        (5)   the judgment has been released or discharged; it is
                 based on an earlier judgment that has been reversed or
 13              vacated; or applying it prospectively is no longer
                 equitable; or
 14
           (6)   any other reason that justifies relief.
 15
      Fed. R. Civ. P. 60(b)(1)-(6).
 16
           Central District of California Local Rule 7-18 further
 17
      explains that reasons to support a motion for reconsideration
 18
      include:
 19
           (a) a material difference in fact or law from that
 20        presented to the Court . . . that . . . could not have been
           known to the party moving for reconsideration at the time
 21        of such decision, or (b) the emergence of new material
           facts or a change of law occurring after the time of such
 22        decision, or (c) a manifest showing of a failure to
           consider material facts presented to the Court before such
 23        decision.
 24   C.D. Cal. L.R. 7-18. A motion for reconsideration may not, however,
 25   “in any manner repeat any oral or written argument made in support
 26   of or in opposition to the original motion.” Id.
 27   III. Discussion
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Case 2:15-cv-09164-DDP-AGR Document 40 Filed 07/13/16 Page 5 of 7 Page ID #:379



  1        Plaintiffs argue that this court should reconsider its prior
  2   Order compelling arbitration because Plaintiffs’ failure to comply
  3   with briefing deadlines was a result of excusable neglect. (Motion
  4   for Reconsideration 3.) Plaintiffs do not, however, offer any new
  5   explanation for the failure to file a timely opposition. (See C.D.
  6   Cal. L.R. 7-18.) Rather, they contend that Defendant suffered no
  7   prejudice as a result of Plaintiffs’ delay. (Id. at 11.) In
  8   support, Plaintiffs rely on a single case where good cause was
  9   found for a one-week delay in filing an opposition to a motion for
 10   summary judgment. (Id. at 2 (citing Ahanchian v. Xenon Pictures,
 11   Inc., 624 F.3d 1253, 1258 (9th Cir. 2010)).) In Ahanchian, however,
 12   the tardy litigant had both attempted to negotiate an extension
 13   with the opposing party and filed an ex parte application seeking
 14   an extension prior to the filing deadline before ultimately
 15   submitting an opposition three days late. Id. at 1256-57. Further,
 16   there was evidence in that case of the opposing party attempting to
 17   take advantage of a federal holiday to shorten the timeline for
 18   filing opposition papers. Id. at 1259. Here, there is no similar
 19   showing of diligence by Plaintiffs and no similar suggestion of
 20   foul play by Defendant. As discussed in the court’s prior Order,
 21   Plaintiffs did not ask for any extensions or make any efforts to
 22   communicate with the opposing party until after the acknowledged
 23   filing deadline. (Dkt. 35 at 2.)
 24        While the court could conclude its analysis at this juncture
 25   and deny Plaintiffs’ motion, it proceeds to consider Plaintiffs’
 26   contention that the substantive claims at issue in this action are
 27   not subject to the arbitration agreement out of an abundance of
 28   caution. In full, the relevant provision of the arbitration

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Case 2:15-cv-09164-DDP-AGR Document 40 Filed 07/13/16 Page 6 of 7 Page ID #:380



  1   agreement provides: “Any Claim arising out of or relating to this
  2   Contract, or the breach of this Contract or your Credit Account,
  3   shall be resolved and settled exclusively and finally by binding
  4   arbitration, in accordance with this Provision.” (Dkt. 26-1, Ex. 1
  5   (“Arbitration Agreement”) at 4.) The agreement further provides
  6   that the terms of the agreement extend to all “agents and assigns.”
  7   (Id.)
  8        On its face, the agreement appears to require that disputes
  9   such as Plaintiffs be resolved by binding arbitration.          Defendant
 10   is the assignee of a contracting party and the present suit
 11   concerns the lawfulness of Defendant’s debt collection activities
 12   related to debts incurred by Plaintiffs on their “Credit Account.”
 13   (See Declaration of Julie K. Gilson, ¶ 14; Dkt. 1) Plaintiffs rely
 14   on two provisions of the arbitration agreement to argue that this
 15   case presents non-arbitrable issues but neither seems applicable
 16   here. The first states that “Binding arbitration shall not be
 17   required, however, for collection actions by us relating to your
 18   Credit Account.” (Arbitration Agreement at 4.) While this provision
 19   clarifies that debt collectors are not required to use arbitration
 20   in collection actions, it says nothing about actions brought by
 21   debtors against collectors. The second provision states that a
 22   “court of law, not an arbitrator, shall determine the validity and
 23   effect of this Provision’s prohibition of class arbitration.” (Id.
 24   at 4.) There are currently no claims challenging the validity of
 25   the class arbitration prohibition before the court nor does this
 26   Court’s prior order compelling arbitration constitute a ruling on
 27   the validity of any prohibition of class arbitration.
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Case 2:15-cv-09164-DDP-AGR Document 40 Filed 07/13/16 Page 7 of 7 Page ID #:381



  1        Finally, Plaintiffs ask this court to consider issuing a less
  2   harsh sanction. (Mot. 7-8.) While the court’s prior Order
  3   recognized the “severity of the sanction,” it nonetheless concluded
  4   that granting the Motion to Compel was justified. (Dkt. 35 at 3.)
  5   Plaintiffs have not submitted any additional evidence pursuant to
  6   Local Rule 7-18 to warrant reconsideration of this conclusion.
  7   Having ordered the parties to arbitrate their claims, the court has
  8   discretion over whether to dismiss the action or stay proceedings.
  9   See Sparling v. Hoffman Const. Co., Inc., 864 F.2d 635, 638 (9th
 10   Cir. 1988) (discussing 9 U.S.C. § 3 and holding that “[t]he
 11   district court acted within its discretion when it dismissed” a
 12   case after submitting all claims to arbitration). In this case, the
 13   Court revises its prior Order to stay the action rather than
 14   dismiss with prejudice. The court does not, however, reinstate any
 15   previously vacated motions.
 16
 17   IT IS SO ORDERED.
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 20   Dated: July 13, 2016
                                                  DEAN D. PREGERSON
 21                                               United States District Judge
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